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✎GAM 35                       Report and Order Terminating Supervised Release
(Rev. 2/06)                           Prior to Original Expiration Date


                         UNITED STATES DISTRICT COURT
                                                   FOR THE

                                    MIDDLE DISTRICT OF GEORGIA


              UNITED STATES OF AMERICA

                         v.                               Crim. No.    5:16-CR-00001-001 (MTT)

                MARIA E. TRENAM

Maria E. Trenam has complied with the rules and regulations of supervised release, has met the
criteria for early termination as outlined in the Guide to Judiciary Policy; Part E (Post-Conviction
Supervision); Volume 8; Chapter 3, as approved by the Administrative Office of the United States
Courts, and is no longer in need of supervision. It is accordingly recommended that Maria E. Trenam
be discharged from supervision.


                                                             Respectfully submitted,




                                                             Donald L. Coneway, Sr.
                                                             Supervising U.S. Probation Officer

                                             ORDER OF COURT
Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision and that
the proceedings in the case be terminated.

       Dated this       25th        day of             May              , 2022.



                                                            S/ Marc T. Treadwell

                                                            MARC T. TREADWELL
                                                            CHIEF U.S. DISTRICT JUDGE
